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8
                           UNITED STATES DISTRICT COURT
9
                          CENTRAL DISTRICT OF CALIFORNIA
10
      STAR FABRICS, INC., a California                 Case No.:
11
      Corporation,
12                                                      COMPLAINT FOR COPYRIGHT
      Plaintiff,                                       INFRINGEMENT
13

14    v.                                               Jury Trial Demanded
15
      HNLTF, INC., a California Corporation,
16    CAL JUNE LTD LIABILITY CO., d/b/a
17    “caljune.com,” a Georgia limited liability
      company; and DOES 1 through 10,
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19    Defendant.
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1              Star Fabrics, Inc., by and through its undersigned attorneys, hereby prays to
2    this honorable Court for relief based on the following:
3                                  JURISDICTION AND VENUE
4          1.        This action arises under the Copyright Act of 1976, Title 17 U.S.C., § 101
5    et seq.
6          2.        This Court has federal question jurisdiction under 28 U.S.C. §§ 1331 and
7    1338 (a).
8          3.        Venue in this judicial district is proper under 28 U.S.C. §§ 1391(c) and
9    1400(a) in that this is the judicial district in which a substantial part of the acts and
10   omissions giving rise to the claims occurred. Specifically, the Offending Product (as
11   defined below) was distributed to Los Angeles, California.
12                                         PARTIES
13         4.        Plaintiff STAR FABRICS, INC. is a corporation organized and existing
14   under the laws of the State of California with its principal place of business located in
15   Los Angeles, California.
16         5.        Plaintiff is informed and believes and thereon alleges that Defendant
17   HNLTF, Inc. (“HNLTF”), is a corporation organized and existing under the laws of
18   the State of California with its principal place of business located in 810 E Pico Blvd,
19   Ste B28, Los Angeles, CA 90021. HNLTF is the owner of the Registered
20   Identification Number (“RN”) 162154 issued by the U.S. Federal Trade Commission.
21         6.        Plaintiff is informed and believes and thereon alleges that Defendant Cal
22   June Ltd Liability Co., d/b/a “caljune.com” (“CAL JUNE”), is a limited liability
23   company organized and existing under the laws of the State of Georgia with its
24   principal place of business located in 4150 Ashford Dunwoody Road, Ste 1332,
25   Brookhaven, GA, 30319, and is the owner, operator, and/or controller of the online
26   storefront https://caljune.com/ through which it ships products to California residents,
27   including within this District.
28         7.        Defendants DOES 1 through 10 (together with HNLTF and CAL JUNE,
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1    “Defendants”), are other parties not yet identified who have infringed Plaintiff’s
2    copyrights, have contributed to the infringement of Plaintiff’s copyrights, or have
3    engaged in one or more of the wrongful practices alleged herein. The true names,
4    whether corporate, individual or otherwise, of Defendants 1 through 10, inclusive, are
5    presently unknown to Plaintiff, which therefore sues said Defendants by such
6    fictitious names, and will seek leave to amend this Complaint to show their true
7    names and capacities when same have been ascertained.
8                         CLAIMS RELATED TO DESIGN 74725
9          8.     Plaintiff owns an original two-dimensional artwork used for purposes of
10   textile printing entitled 74725 (the “Subject Design”) which has been registered with
11   the United States Copyright Office under Registration No. VAu 1-256-314.
12         9.     Prior to the acts complained of herein, Plaintiff sampled and sold fabric
13   bearing the Subject Design to numerous parties in the fashion and apparel industries.
14         10.    HNLTF, CAL JUNE, and certain DOE defendants manufactured, sold
15   and/or distributed fabric and/or garments featuring reproductions of the Subject
16   Design (hereinafter “Offending Product”), including garments sold by CAL JUNE,
17   bearing the label “Big Hit | Cal June,” under Style No. HD1224, and RN 162154,
18   indicating it was manufactured by or for HNLTF.
19         11.    A representative sample of the Subject Design, and an exemplar of an
20   Offending Product are set forth hereinbelow:
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1            Subject Design                                   Offending Product
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16                Detail                                          Detail
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1                                   FIRST CLAIM FOR RELIEF
2                (For Copyright Infringement. – Against All Defendants, and Each)
3                  12. Defendants, and each of them, had access to the Subject Design through
4    (a) access to Plaintiff’s showroom and/or design library; (b) access to illegally
5    distributed copies of the Subject Design by third-party vendors, including without
6    limitation international and/or overseas converters and printing mills; (c) access to
7    Plaintiff’s strike-offs and samples, and (d) access to garments in the marketplace
8    manufactured with lawfully printed fabric bearing the Subject Design.
9            13.      Defendants, and each of them, infringed Plaintiff’s copyright by
10   creating, making and/or developing directly infringing and/or derivative works from
11   the Subject Design and by producing, distributing and/or selling Offending Product
12   through a nationwide network of retail stores, catalogues, and through on-line
13   websites.
14           14.      Due to Defendants’, and each of their, acts of infringement, Plaintiff has
15   suffered damages in an amount to be established at trial.
16           15.      Due to Defendants’, and each of their, acts of copyright infringement as
17   alleged herein, Defendants, and each of them, have obtained profits they would not
18   otherwise have realized but for their infringement of the Subject Design. As such,
19   Plaintiff is entitled to disgorgement of Defendants, and each of their, profits
20   attributable to the infringement of the Subject Design in an amount to be established
21   at trial.
22           16.      Plaintiff is informed and believes and thereon alleges that the
23   Defendants, and each of them, have committed copyright infringement with actual or
24   constructive knowledge of Plaintiff’s rights such that said acts of copyright
25   infringement were, and continue to be, willful, intentional and malicious.
26                                     PRAYER FOR RELIEF
27           Wherefore, Plaintiff prays for judgment as follows:
28                 a. That Defendants—each of them—and their respective agents and
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1                servants be enjoined from importing, manufacturing, distributing,
2                offering for sale, selling or otherwise trafficking in any product that
3                infringes Plaintiff’s copyrights in the Subject Design;
4             b. That Plaintiff be awarded all profits of Defendants, and each of them,
5                plus all losses of Plaintiff, the exact sum to be proven at the time of trial,
6                or, if elected before final judgment, statutory damages as available under
7                the Copyright Act, 17 U.S.C. § 101 et seq.;
8             c. That Plaintiff be awarded its attorneys’ fees as available under the
9                Copyright Act U.S.C. § 101 et seq.;
10            d. That Plaintiff be awarded pre-judgment interest as allowed by law;
11            e. That Plaintiff be awarded the costs of this action; and
12            f. That Plaintiff be awarded such further legal and equitable relief as the
13               Court deems proper.
14                                      JURY DEMAND
15         Plaintiff demands a jury trial on all issues so triable pursuant to Fed. R. Civ. P.
16   38 and the 7th Amendment to the United States Constitution.
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     Dated: July 2, 2025                                   DONIGER / BURROUGHS

20                                                   By:   /s/ Stephen M. Doniger
21
                                                           Stephen M. Doniger, Esq.
                                                           David Shein, Esq.
22                                                         Attorneys for Plaintiff
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